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Renee C. Ohle_ndorf2 263939)

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HINSHA & CULBERTSON LLP , §

11601W113hireB1vd.,suite 800 ¢,§111111 11111111111-1§1§3;§"

Los Angeles CA 900’25 1116 m 3 1171‘~,11,

Telephone: 310- 909- 8000
Facsimile: 310- 909- 8001

Attorneys for Defendant GC SERVICES, LP

 

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
w » 3 V 1410
MARTA WooDWARD, ease No 1513 LV 5 55 335
&Assigned to the Honorable ,
ourtroom_)
Plaintiff,
NOTICE OF REMOVAL
vs.

GC SERVICES, LP, and DOES 1 to 20,
INCLUSIVE

Defendant.

 

 

 

T0 THE CLERK OF THE ABOVE-ENTITLED COURT:

PLEASE TAKE NOTICE THAT pursuant to the provisions of 28 U.S.C.,
sections 1441(a) and 1446, Defendant GC SERVICES LP (“Defendant”) hereby
removes to this Court the state action currently pending in the Los Angeles County
Superior Court of California, described more fully below:

1. On July 3, 2013, a civil action was commenced in the Superior Court
of the State of California, in and for the County of San Bemardino, entitled Marta
Woodward v. GC Servz`ces, LP, and pending under Case No. CIVDSI307727. A
true and correct copy of the Complaint is attached hereto as Exhibit A and

incorporated herein by this reference

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2. In light of the pendency in San Bernardino County, the United States
District Court for the Central District of California is the proper forum for removal
pursuant to 28 U.S.C. §§84(b) and l44l(a).

3. On July 26, 2013, Defendant was served With a copy of the Summons,
Complaint, Civil Case Cover Sheet, Certiiicate of Assignment, ADR Information
Packet and Notice of Trial Setting Conference, true and correct copies of which are

collectively attached hereto as Exhibit B and incorporated herein by this reference

8 The aforementioned documents constitute true and correct copies of all process,

9 pleadings and orders served upon Defendant

4. The Complaint asserts a federal cause of action against Defendant for
purported violations of the F air Debt Collection Practices Act, 15 U.S.C. §1692 et
seq., and may be removed to this Court pursuant to 28 U.S.C. §l446(b) because it
invokes federal question jurisdiction This Court may exercise supplemental
jurisdiction over the remaining claim for purported violation of the Rosenthal Fair
Debt Collection Practices Act, Califomia Civil Code §1788 et seq,, pursuant to 28
U.S.C. 1367(a) and l44l(c).

5. This Notice was filed with the Clerk of the United States District
Court within thirty (3 0) days after service of the Complaint was effectuated upon
Defendant. It is therefore timely under 28 U.S.C. §l446(b).

Respectfully submitted,
DATED: August 21, 2013 HINSHAW & CULBERTSON LLP

By:/s/ Renee C. Ohlendorf
Renee C. Ohlendorf
élt)torneys for Defendant GC SERVICES,

2
NOTICE OF REMOVAL

 

 

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EXHIBIT "A"

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l ll. l’ARTlES
'l. Plainri?:", 1\1!/\R'l‘1\ WOOD\VARJJ (“l’laintif?’), is a natural person residing in §
lSinrr l%emardinc County in the stale of Calil`ornin, and is a “consumcr" 113 defined by the
: I~`DCP/\, ’.5 U.S.C. §169211(3)111111 is a "de‘nmr" as defined by Cal Ci'v Codc §l`/’SS.Z(h).

a § 3. 1\111!2 rclcvam times herc§n, Defendanl, GC SlillVlCl£S, l,l’, (“Dc£"¢nc|an*.”) was
7 a company cng:\gcd, by usc of me mails and Lelcphonc, in the business of collecting a debt from
Plain’.ill` which qualities as a “de’o\," as defined by 15 U.S.C. §16921=.(5), and a “consu.'ncr
dchl,” ns defined by Cal Civ Cedc §1788.’2(5. Dc{’cndam regularly attempts lo collect debts
§ alleged w bc due anu'.l:ar, and therefore is a “dchl cullrzclor" as defined by live l°"DCPAt 15

l
12 ' U.S.C. §169211(6). nmi RFDC?!\ Ca? Clv Code § l 788.'1‘,(1:).

n 4. l’laimi."l" clo¢s not know :l‘.c true names and capaci’,£':s, whether corporalc,

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partnership, assoc:ulc, mdlv:¢:ual or orhcr\\‘:sc, of Dcl`cnclnms sued hamm as Uocs l through 20,

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m inclusivc, and therefore names said l]af`emlnms under provisions of Sec!lon 474 of the

§~ Culifomlu Coclc nf Civil Pmcedure

 

18 5. Ph\imiff is informed and bclicvr::s, and on that basis alleges lhm Dchmdums Docs
`3 ; shrnugh 20 arc in some manner responsible for acls\ occurrences and transactions set fonh
211 _ § § _ _ §

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w 61 m ali limes mcmh)ncd, cash of thc dcfcndun:s, whether achwlly named or

13 licli\iously named, was the agem of the other cfeudzm*.s, whether nch:ixily named or liclilious|y

3" mamcd, nnd each other and was 111 all ll:ncs wing wilth ll~.e purpose and scope of such agency

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lenhf'F 13 mtom'.cd and ocl:¢:ves, and on lhz)l' bas;s allcgcs, that ar 1111 t\mcs mentioned :wrmn ;
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each dcfenda:\t, whether actually or liclilious|y named was '.hc principul, agem or employee of
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,eac`n oll‘.cr dcfendaur, and in 111;‘11113 115 such prlzicipu.i, or within she course and scopc of such
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Complaint » 2

 

 

 

 

Case 5:13-cV-01503-.]VS-SP Document 1 Filed 08/22/13 Page 6 of 29 Page |D #:9

l employment or agency took some partin thc acts and omissions hc:cinullcr set forth by reason
of which catch defendant is liable to plaintiff for the relief prayed l`or herein /\t ull times
relevant herein, defendants ratified the \t:ilt't\\'l`t.tl conduct ol` the other defendants, who were
acting within the scope of their agency or cni;)li)ym¢nt, by accepting thel benefits of the

4 transaction(s) with kno\\'lt:dgc of the wrongdoing m titl‘.crwisc by failure to repudiate the

7 misconduct.
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lIl. 'Fi\C.TU/KL A~LbECiA‘I`l`ON.S
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m '7. Al various and multiple times prior to thc filing of thc instant completing

g including within the one year preceding thc filing nl" this complai:it, Defendant contacted

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12 Pla):tltll" in an attempt to collect an alleged outstanding ucht.

 

 

 

n S. On or about l~`ebrt:ar)' of 20| 3, Dui"cntlam begun contacting ?lalntii'l` calling from
w telephone number (SOO) 662~8337, itt connection with an attempt to collect a debt allegedly
:s
m owed by Plaimifl".
n 9. Defendant contacted ‘lztintift` at telephunc number (760) 590'870|
l"l ;: approximately 2 to 3 times per clay in cunncction with nn attempt to collect n debt allegedly
w owed by Plztintil`li
:c 10. O:t at least cmc <)ccztslon, l.`/c."cndant contacted Plai:t:ifi"s mother in summation
,; with art attempt to collect zt debt allegedly owed by Plaln'.it`t. Howcvcr, Defendant did not have
23 authority from Ptaintitf to contact a third pmy.
~"" ll. On several oc¢:u.»\lons, Plalntil’l' requested Defendant to stop cul|ing. t~lmvevcr,
23 Dc:l“cmlattt ignored Pluintifl-’s requests and continued to contact hcr.
3

:: l?.. Ott at least one occasion Ucfcmlunt represented to Pln£ntlfftliat failure to pay
.:,s tl‘.é alleged debt would vcsull in Plt~.imit`l"‘s social security payments being gamished.

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5 complaint ~-J

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Case 5:13-cV-01503-.]VS-SP Document 1 Filed 08/22/13 Page 7 of 29 Page |D #:10

ifl. t'>efcndanr contacted Plaincifl at times and places that were known 10 be

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'mcnnvcz~.tent and with such frequency at 10 constitute harassment under the circumstanees,

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l includingl but not limited to, multiple calls per weck.

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5 14. l)cfendant’s cc)ntjnt;*»l violated the FDC'PA and the RFDCPA in multiple ways,

r, including bin nut limiu:d 101

7 n. litigaging in conclut;l the natural consequence uf which is to l:arass, oppress, or

s abuse Pli‘.inriff {§ 1692d))

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9 b. Fnlscly representing or implying that nonpayment uf Pluinlii?'s debt would §

:i»,suit in the scir.u.'e, gnrn'islunet:t, attachmcnl, or sale ul` Pluitniff's property or
’° wagcs. where such action is not lawful or Defendant did not intend to take such
n aolion (§ 1692<:('4));
l
12 . c. 'lltrcatcning in take nn notion against Pialmit'f that cannot be legally taken or thin
m was not actually intended to be taken (§ lt?§lc(i))
;4 §l d. C:ntsi.'\g a telephone 10 ring repeatedly or continuously lo annoy Plair‘.tif`l" (Cal
Civ Codi;§ 1733411(®);
:>'

l e. Commun:`c:tlir,g, by telephone ur in pcrstm, with Plainiilf with such li~equcncy as
h lo be unreasonable and to con>nitute an harassment to Platin'ti'll` under the
w circums‘.;tnccs (C:tl Civ Corle § 1788.1 l(e));

13 f. Causing Plnintiffs telephone to ting repeatedly or continuously with intent to

l 9 harassx annoy or abuse l’lat'ntil'l" (§ lé¢).?d(§));nnd

go g. Communieatin.g with l"lm'rtti t et times er places which were known or should
have been known to bc inconvenient for Pl:~.iniil’l`, (§ iGQZc(a)(l`)).

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n § l$. As n result cf the above violatit)ns of the l<‘DCP.¢\ and RI-`DCPA, Plainlifl`

xi suffered and continues lo suffer injury to l‘lnimi:'f’s fcclings, personal ltumiliario::,

2"‘ cii:bm“rm<smcn(, mcneil anguish and emotional distrcsn, and l.JeFenclnnt is liable to Plnlr~.rlf.*' l;`or

COUNT l: VIOLAT¥O'N F ROSENTHA!..

 

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g lG. Plnirttlfl" rcit'icorpc:'a!cs by reference all of thc preceding part\graphs.
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' l7. 'l`o the extent that l>t:li¢t\.dunt`s ttctions_ cunnth aht)vc, violated thc l{l"|)(.‘l‘/\,
those actions were done knowingly and willl`utly.

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5 Wt ll:`.l{lil"()Rl'-Z, l’la\intit'l` respectfully prain that judgment be entered against I”)'cl'cntlttnt

n l`or lltc fol.lowing:

 

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x B. Statutory damages t“or wit|t`u| nnd negligent viotzttions;
Ct (Fosts and reasonable nttt)mcy`s fccs; and
., l), l"or such other and t'tntltcr wlict`as may be just and pmper.
m COUN'l` ll: VIOLATH)N OF FA|R f)EBT
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12 l8. l’laimil`t`rcineorpnrntc.~t by reference nll of the preceding parng,i'tiphs.
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|" Wl ll?REFOR[€, Plaintilt` respectfully prays that judgment be entered against Defendant
w furtth following
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/\. Acttxnl dttmnges;

\7 B. Stntntnry ct:tmztges;
C` Custs and renst)nnl)lc attorneys l"ees; nnd.
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EXHIBIT "B"

Case 5:13-cV-01503-.]VS-SP Document 1 Filed 08/22/13 Page 10 of 29 Page |D #:13

 

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II. PM{`|'IF.S

z § 2. Plainrl?f, M/\R'I`,\ WOODWARIJ (“Plalnlll‘l°’), is a animal person residing in §

j ;:Sm: lZcm;\rrlino County in the anne of Calllbrnln, amd is a "consumer" as defined by chc

5 - FDCPA, `.5 U.S.C. §l69?.a('.‘v) and is_ a “dcf:)mr" as dcl`xnccl by Cal Ci\' Co<lc §l'/`SS,Z(h). :
a § 3. ¢\1:\|2 relevant lisz hcrcin, Defendanl, GC Sl:lll\’lCl:lS, l,l’, (“l)cfcndan:”) was §
7 a company cngngcd, by usc of 1110 mails and Lc:l¢phox:c, in the business of wheeling a debt from

3 z Plain:ll'l` which qualifies as a “r.icb\,” vs dellnc'd by 15 U.S.C. §16923(5), and a “consumcr

o

dcbl,” ns dellm:d by Cz\l Cl\' \'.‘Qdc §l'ilill.l(l]. Defendant regularly attempts to collect debts
§§ § alleged m bc due ancillary and lhcrcforc ls a “dcl)t collcr:lor” as defined by the FDCPA, 15

l
12 3 U.S.C. §l692a(6), and l\l?lJC?A, Cnl Civ Con §1733,2(6)~

'3 ‘l. Pla£nliff cmc-s not know 'l'.s mm nmncs and capacitim;, whether corp¢)rzz¢c,
w

purlncl'sl\lp, assocsth incl\v;rlual or othen'isz, of Dcl`cmlunls sued herein as Docs l llxrough 20,
ls
m incluslvc, and llxcrcfcrc nnmc.~s said Defem|zml.~; under provisions of Scclloxl 474 of lhe

l~ Cz\lif`omln Coth of Civ'\l Fz'nc:cdurc

 

 

l\‘l 5. Plalr‘.lifl is lnfonne<l and belleves, and on that basis alleges lhz\l Defendams Docs
19 l lhrcugh 20 arc in somc manner responsible for acw` occurrences and transactions set forth
2{: ':zc:'cin and nrc legally liable lo l“lal::lifz`.

1 .

22 l 6. As ali times r:w.mlz)necla cash of the dcf`cndanzs, whether actually named or

23 llctlllu\.'sly numed, was she ugem of lla¢: other dcf’eudan€s, whether ucmz\ily named or l"lcliliously

'l'* lnzlmccl, and such other amd wm al all times acting wllhln llm purpose and scope o|" such agency.

Pmlnuff as mlom‘.ell and :x:l:cvcs, unc on that bas:s allegcs, mar at nll moral memmncd :)ercm 1
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each dcfen<la:u, \\'lwthcr annually or llclitiously named \wxs !l‘.c: plin<:lpnl, agent or employee of
27 .

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m §each other defendanr, and in acllng as such principul, or wl!l:in :h¢ course and scope of such

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l Conx;)l:dm - '.'.
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l employment or agonc;', took some part in thc acts and omissions hereinafter set ."ortli by reason

e_ of which such defendant is liable to plaintiff for the relief prayed l'or hct'cin. At all times

relevant licrcin, defendants ratified the u:ilt\wl`ul conduct t)l" lite other defendants, who were
acting within thc scopel ol` their agency or cmployment, by accepting the benefits of the
5 transaction(s) with knowledge of the wrongdoing or othcr\\'ise by failure to repudiate the

7 misconduct

s
I'H. F'.»XC’I'UAL ALIJI‘,:(`,'A'I'IONS
9
m 7. Al various and multiple times prior to the filing ol’ the instant completing

including within thc one year preceding thc filing of this completing Defendant contactch
12 Plzi§tttil'l' in m attempt to collect an alleged outstanding7 dcl)t.
13 S, On or about l~`cbruat')‘ of 20 l 3, l)oli:ntlunt began contacting ?laintil`l` calling from

telephone number (SOO) 662-8337, in connection with :-.n attempt to collect n debt alfogcdly

 

 

 

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m l§owt:ci by Plairio`ff.
n 9. Defendant contacted Plttintiff at telephone number (760) 590-870!
ill approximately 2 to 3 times par clay iii connection with nn attempt to collect tt debt allegedly
19 1 owed by l’l'¢tintil'lf
20
ltl. O:i at least on¢ occztsio:t, Defendant contacted t’lzi:ttifl"s motlu:r in connection

21
21 l with an attempt to collect a debt allegedly owed by Plain:ift. Howcvcr, Defendant did not have
23 authority ftom Plair.tilf to contact a third party
3" § ll. On several occiisio:~,s, PlaintilT requested Defendant to stop culliitg. t'lct\\'evcr,
is l Defendant ignored Plaintifl“`s requests and continued to contact hcr.
:: j l?.. On at least one occasion Dcl'ctttlunt represented to Plztintll"l' that failure to pay l
23 l tl‘,o alleged debt would result in Plz»,imifi"‘s social security payments being garnishedd

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1 Complaint-41

 

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l 13. Defendant contacted Plnintit`f at times and places that were known to he
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'tnconvcntcnt' and with such frequency at to constitute harassment under the circumstancos,
. l
3
` including but not limited to, multiple calls pet wcck.
4
5 l¢t. Dcfcndant’s conduct violated the FDCP/t nncl the RFDCPA in multiple Ways,
¢s including but not limited to:
7 n. litigaging in conduct the natural consequence of which is to l:amss, oppress, or
3 abuse Plnintiff (§ 1692d))
. . . . . l
9 b. Fnlscly representing or tmply:ng that nonpayment of l*lznnttff‘s debt would t
remit in the s¢iv.urc, gurn'ishmcnt, anactnnt:nt, or sain ot'Plnlntii"f"s property or
'° wagon \\'ltc:c such action is not latt'l‘ll or Defendant did not intend to take such
n action (§ lGQZc('~l});
12 c. Threatcning to take nn action against Pinittti'if that cannot bc legally taken or that
w was not actually intended to bo taken (§ 1692c(5.))
24 d. Cattsing a telephone to ring repeatedly or continuously to annoy Plnir:tii`f (Cal
’ Civ Codc§ 1783.| l(tl));
15
' o. Communicntlr.g, by telephone or in perxtm, with Pluintit'i'with such Frcqucncy ns
"“’ lo bc umcasonablc and to oostxtitutc an harassment to P`lain'ti'l’c' under thc
n circumstances (Cnl Civ Corlc § 1788.\ |(e));
13 F. Cat:sing Plaintil`l”s telephone to ring repeatedly or continuously with intent to
w hn.'ess, annoy or abuse Ptaintiii"(§ l692t‘.(5));nnd
20 g, Communicating with l"lnintiff at times or places which were known or should
have been known to bo inconvenient for Pl:=.intil"l`, (§ l692c(n)(l)).
at
,n ; 15. As n result of the above violations of the liDCl"A and RFDCPA, Plaintil`!"

35 suffered and continues to stttl`t:r injury to Plninti:“t’s Fcclings, poioo.~.al humiliatlo:~.,‘

“ ¢:'nt>nwnssmcnt, mental anguish and cmntionnt disn'oss, and l)cfcnclnnt is liable to Plnir-.tift' tbr

     

 

25 l?l::ix'.til’l"s actual dutnagcs, statutory dntnngos, and costs and nttorncy's fccs.

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C.`OU‘N'!` l: VIOLAT!.GN F Rt.`t t"lt;NTHAI..

37 toth DEBT Coul,ttcrlox l'tctc“ricl¢:s Ac’r

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lG. Plnintif`frcincorpomrc:; by rot'cn:nc¢ all o‘F th¢: preceding purngraphs.

 

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' 17. 'I`o the extent l|ml l)cl`cndum's aclions, counted nhnvc, violated the 111"|){.'!‘!&,
thc).~ac uclium; were done kuowingiy and willt`ully.

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n for the following
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szulory danmges l‘ur willful and negligent violations:

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For such mhc-r and further rc|ic!'us may bcju::l and prnpcr*

w COUNT lI: VI()l..ATl()N Ol" E.L\IR DEBT
C()Ll,l~`.C'l'ION l’RACTlCI-)S A(.`T

.U.')P.>

 

lB. l’laimii`|`rcinc¢)rp<muc.~: by reference all of the preceding pumgmphs.

 

 
 
     

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w PRAVI".R FOR RE\.I(€F
l" Wl lI?RIF.l`-`ORE, Plaimif¥`rcspccd`uily prays that judgment be entered against Defendant
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\7 B` Suuumry c|'.\nmgcs;
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ttmc~{or-servi:a requtw.'mnto and case management r'.ttc.t.'»i unless o defendant ti!et: a responsive pteadtr\g. ft rule 3.74D.eotlecllonu'
case will be subject to the requirements lar service and omolnlng a tudgmantln rule 3.74& `
m parties trt Comptnz ca:ss. in complex cases only. patt'es must also use the Ctvit Case vaur Stm)l to dustgnate whetho:'the
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CthL CASE COVER $HEET

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SUPER|OR COURT OF CALiFORNiA, COUNTY OF SAN BERNARD!NO

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A civil riolion or proceeding prcsonlcd lor iiling must be accompanied by this oenllicalo. |f the ground ls the resigned
of a party, name and renounce shall bo stated

The undersigned declares that lhe above'erititzed matter is filed for proceedings in the san g"”‘§""‘i"."°
Dislricl of the Superior Court under Rulo 404 of this court for the checked ransom

 

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Nalure of Actlori Ground
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L_"`:] 5 Eminer\l Uomain The property is located within the district »
C_'_'] 6 Famiiy Law Pfaintiit. defendant petitioner or respondent resides within ina district_
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m 9 Mandale The defendant functions whcliy within the district
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l daciare, under penalty of perjury that the foregoing is true end correct and that this decisisl,ip¢<@;e`cutod on

 

 

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H@re Axe Sc)me Other Ways

 

 

 

'I'o Resolve a Ci\.'il Dispute

 

 

 

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Advantages of ADR

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§ ADF~§ can save money Cou< costa ahomeys’ 1999 am expert fees Car`§ :>-e
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l ~ ADFl can be more satisfying For ali the above reasons, many people have
' reported a nigh'degree oi satisfaction with AD.~"-‘-.,

§ Be<:ause or’ these advaniages, many parties moose ADR 10 resolve a dispu,te, inereao'

’ or filing a iawsuii_ ivan w'nen a iawsuit has oee'n nied, t‘ne coin san ieier the d.isp'.-iie v
c- a neutral bei'ore roe games positions harden and me iawsuli ‘ accrues costly. AL`=F
nas been used is resolve disouies even afre.' a zria!. wnen the result is appealed

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Disad-vantages of ADFi

 

ADR may not oe suize'ore for every disouie.

~ ::' AD?.' is binding ine names normaliy give up most com protections, including e
decision D_v"e ,iuoge"o." _iury"UnUe'r`"ioi‘rF.ei“'r`uies "”i"'e"v'r§’é'r`i"c“~:~l“`é`ri~.'l'"`p`"r’éé§§ii'r~:-,, and
review ior legal error by an appeilai;e soui‘?..

» Tnere generaliy is iess opponunizy to find out eboui live other side’s case with
ADF: than with litigation ADR may nor be efiective ii ii takes piece before me
parties have su'ir'icieni information to resoive tile dispute

~ The neutral may char~-:- a iee for nis or her services

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- li a dispuie is not resolved through AD.‘, ina carries may have to put time lend §
money into born AD.=% end a lawsuit

l i» Lawsuizs musi 'r)e brougni within specified oeriods of iirne, known as statutes :)i r
, limitation Parties must be careful noi to lei a aratute of limitations run cut while e
' disoure is in an ADP, process.

Three Common Types of ADR

`:`;'iis pamphlet describes the forms o:’ ADR most orier. found in the Caiir'.o'mla siera-
couris and discusses vinen each maybe rigni io.' a dispuie.

- lviEDlATlON

In mediation_. a neutral fine mediaiori aasiazs in-:- parties l.“. reaching a muiualiy
ecoeoia':>ie resolution of frei~' dis.o=.)ie. Uniii<e iawsiriis or some other iy_:)es o.f ADP.. i'n%
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rn e. e ' s imere rs, instead of working againsi eeoc
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g i:)'e'iween the padies c` 10 resolutions i`net nolo up. :'-'orexem;)lé_. mediation has oe‘er-.-
very successful in iamiiy dieouree, particularry vr;t.'= child cuszody end visiiation.

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l ’ l »
Mediatior‘. is particularly effective when the parties have a continuing relationship,, like i

g neighbors or business people. lvleo`iation also is very reflective where personal feelings -.

l are getting in the way of a resolution This is because mediation normally gives the “'_`
parties a cna se to let out their teelin:_)s and find out how each other sees things '

Mediaticn may not be .=. good idea when one party is unwitting to discuss a resolution-

~:ir when one deny has been a victim ot the other or cannot have enough bargaining

power in the mediation Howeve:, mediation can be successful ior victims seeking

gm restitution from onenders. A mediator san meet with the parties separately wh_en__tnera~ '
has been violence between them ` ` ` ' "

 

» AR`B\“rRAnoN

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in arbitrationx a neutral (t'ne arbitration reviews evidenoe, hears arguments and makes y
§ a decision (awardi to resolve the dispute This is very different trorr_i mediation 'wnere_;¢
} tne mediator helps the parties reach their own resolution Arbit-*ation normally is more
informal and much speedie‘ and less expensive than a lawsuitl Because of the_‘.large ‘
number of cases awaiting trial in many oourts, a dispute normally can be heard moon l "
more quickly by an arbitrator then by a judge Otten a case that may take a We_ei< to -
try in court can be heard by an arbitrator in a matter of nours, because evidence can _ i
be submitted by documents (iii<e medial reports and bills and business records), rather ‘
than testimony

l Thcre are two kinds ct arbitration in Caiit'ornia. Privaie arbitration by agreement ot t'ne
parties involved in the disputel takes place outside ot the courts and normally, is
binding in most cases "'oinding" means 't`nat the arbitrators decision (a,ward) is inal
and there will not be a trial or an appeal ot that decision By contrast a decision lay-an
arbitrator in a case reierre:i by the courte._ known as ‘judioial arbitration.' is not binding
unless carries agree to be bound A partyth does not like the award may.t'iie a
request for trial witn the court within a specified time. l-iowever, it that party doee'no*.
do better in the trial than in arbitration 'ne or she may have to pay a penalty ~

§ Ar'citration is best ibt cases wnere the parties want a decision without the expense ot a .
traal. Arnitration may be better then mediation when the parties have no relationshir) t '
except ior tne dispute `

Arbitraticir. may not be a good idea when the parties want to resolve their dispute i:_)`y »
tnemselvea, or wii.n the aid ct a neutral

» CASE EVALUAT|ON

ln case evaluation a neutral it."ie evaluaiori gives an opinion on the strengths and ,
vreaknesses of each barty‘s evidence and argumente, and makes an evaluation ot the § '
case Z ch party gets a chance to present the case and hear the other e-iz:`le. T'nis

may iead to a settlement or al least help the parties prepare to resolve the dispute

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Case evaluation like mediation can come early in the dispute and save time aan ` 1
' ' money `

Case evaluation is mps: anacin/s when someone has an unrealistic view ol ina dispute . "
or when the oniy r:al issue is what tns: ass is worthv o.' when there are technic al pt '
scientific ouesiions tc os worked out ‘

Case evaluation may not as a gooo idea when itis too soon to tell what the case is .
worth or when the dispute is about something besides mon=y1 like z neighbor playing .
iou:im music letsa s. high 1,

 

Adclitional information n ~ l

-»`l`nere~are~ several other types of AE)R beside mdiatio:' "rbnra'tio't""a‘ncl"cas=

§ evaluation Some oltnese ar= conciliationl settlementsonio.'onces. factfinding mini

` t',iais ano‘ summon/1 jur trials Sometimes parties w1l1t'v combination o'.' ADF\'; _o`es

. ihs imoonarii thing ;s to t 1 r-: find ins tvoe or types o:' ADFZ that are most likely tc
resolve your dispute

T`n: selection pi ” snouirai is an important decision Thers is no legal requirement that

lite neutral to be licensed or nolol any panioutar certificate Howeve., some programs `1-
have estabiisneo' quali1”1c alien reo_wremems for neutrais. You may wish to inquire '-
about the qualifications 01 any neutral yo=.. are considering i'

.i
1 Agresrnsnts reached through ADR normally are put in writing 'oy ina neutral ancl_. if thc 1 -
parties wish may become binding contracts that can be enforced ny a iudge. 'l

YoL = Lmay wish to seek t'ns advice of an attorney 321 ‘ you.l e_oa1 a’ rights and otne:
mails rs raiating to the disouz~;~;.

Whom Do You Call?

To locate a 'is_:)u'-.e resolution program or nourraf in you.”cornmuniry; ' ,

v Contac‘. t'ns Calitornia Department or Consumer Afialrs., Co:nsu`mo'r_
information Center, toll tree 1-800 952 5210,:)

~ Contact the local bar association or
~ l_ooi< ih ins Yeiiow Pages most "Arbitratio.'~=s' or "Meo'iaiors."

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_ Accommodations For Parsons Wiih Disabiiiiies Uslng Court r'-`aciiitles

Tne Americans with Disa'ui;liies Acr iADAi and Si.e s iaw require ali mate and local govemmemai eniiiie`s;
including ‘.’ne courts ic provide reasonable accommodaiions for ina needs oi persons with disabilities The
AD/-. benefits oeopi»:~ who nave an inzera-si in court activities programs and servicesN in 1996 thje'-‘ Judl:i.=.i
Councii of Caiiio:nia, r'n-:» policy-maian body ior ina oouns, adopin Calliornia Piuie_s or' Court, rul-o ‘..0'3
iiormor rule 93§.3) r: implainan: ina A;JA in i'-ie siar-:- :oun sysrem.

 
 

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A::-:)mmo::`aiions `oy Perso“.s with Disaoiiities (jucilclai Councl'. Form MD-¢i(ii or by other me'ai'rs, and

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Case 5:13-cV-01503-.]VS-SP Document 1 Filed 08/22/13 Page 25 of 29 Page |D #:28

" v
SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN BERNARDINO

SAN BERNARDINO CIVIL DIVISION
303 WEST THIRD STREET
SAN BERNARDINO, CA 92415-0210

 

LAW OFFICES OF PAUL MANK IN, IV
369 3 DOHENY DR #415
BEVERLY HILLS CA 90211
NOTICE OF TRIAL SETTING
CONFERENCE

IN RE: WOODWARD -V~ GC SERVICES

Notice is hereby given that the above»entitled-case has been set_for
Trial Setting Conference at the court located at 303 West Third'Street
San Bernardino, CA. . .: '

HEARING DATE: 01/03/14 at 8:30 in Dept. 832

DATE: 07/05/13 Stephen H. Nash, Clerk of the Court »
By; JENNIFER'MEDINA

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CERTIFICATB OF SERVICE

1 am a Deputy Clerk of the Superior Court for the County of San
Bernardino at the above listed address. I am not a party to this
action and on the date and place shown below, I served a copy of the
above listed notice:

( ) Encloeed in a sealed envelope mailed to the interested party
addressed above, for collection and mailing this date, following
standard Court practices.

( ) Enclosed in a sealed envelope, first class postage prepaid.in the
U.S. mail at the location shown above, mailed to the interested party
and addressed as shown above, or as shown on the attached listing.

( ) A copy of this notice was given to the filing party at the counter
( ) h copy of this notice was placed in the bin located at this office
and identified as the location for the above law firm’s collectioh of
file stamped documents. - `

Date of Mailing; 07/05/13
I declare under penalty of perjurv that the foregoing is true and

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correct. Executed on 07/05/13 at San Bernardino, CA

BY: JENNIFER MEDINA

civ-ntsc-201304l7

 

Case

 

5:13-cv-01503-.]VS-SP Document 1 Filed 08/22/13 Page 26 of 29 Page |D #:29

PROOF OF SERVICE
STATE OF CALIFORNIA- COUNTY OF LOS ANGELES

I am employed in the County o_f Los Angeles, State of California. I am over
thc a _e of 18 and not a ar]ty to the Within action; my business address is 11601
Wils ire Blvd., Suite 8 O, os Arigeles, CA 90025.

On Aiigust 21, 2013 l served the foregoing documents described as:
NOTICE O RE_MO_VA]:, on the following attorney(s) of record_and/or
interested parties in this action, by (Elacm a true and correct copy(ies) thereof
enclosed iri sealed envelope(s), ad esse as follows, by the fol owing means:

 

 

Paul Mankin, IV Attorneys for Plaintiff
Law Offices of Paul Mankin, IV
369 S. Doheny Dr., #415

Bevcrl Hills, CA 90211

877-2 64741

866-633-0228 faX
pmankin@paulmankin.com

 

 

£BY MAIL): § l deposited/caused to be deposited such envelope in the mail at
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mailing Under that practice it would be deposited with the .S. Pos_tal S_erv_ice on
that_ same day with postage thereon fully repaid at LOS Angeles, California, in_ the
ordinary course of business I am aware t_ at on motion of a party served, service
is presumed invalid if the postal_cancella_ti_on date or ostage meter date is more
than one day after date of deposit for mailing in affi avit.

(BY _FACSIMI_LE TRANSMISSION): l caused a true copy thereof from
send_in facsimile machine telephone number 310-909-8001 to be sent via

facsimi e to the above listed names and facsimile numbers and received confirmed
transmission reports indicating that this document was successfully transmitted to
the parties named above.

(BY E-MAIL): l caused a true copy of the foregoing document(s) to be served
by electronic email transmission at t e time show on each transmission, to each
interested party at the email address shown above. Each transmission was reported
as complete and without error.

(BY CM/ECF SERVICE: I caused such document(s) to be delivered
electronically via CM/EC as noted herein.

Executed on August 21 , 2013, at Los Angeles, California.

    
         
 
 
 
  

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NOTICE OF REMOVAL

 

 

 

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Case 5:13-cV-01503-.]VS-SP Document 1 Filed 08/22/13 Page 27 of 29 Page |D #;30

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMEN'I` TO UNITED STATES ]UDGES

This case has been assigned to District ]udge Virginia A- PhilliPS and the assigned
Magistrate ]udge is Sheri Pym

 

The case number on all documents filed With the Court should read as follows:

EDCV13-1503-VAP (SPX)

 

Pursuant to G‘eneral Order 05-07 of the United States District Court for the Central District of
California, the Magistrate ]udge has been designated to hear discovery related motions.

All discovery related motions should be noticed on the calendar of the Magistrate ]udge.

Clerk, U. S. District Court

 

 

 

August 22, 2013 BY MDAVIS
Date Deputy Clerk
NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (1f a removal action is
filed, a copy of this notice must be served on all plaintijj‘s).

Subsequent documents must be filed at the following location:

m Western Division |:| Southern Division Eastern Division
312 N. Spring Street, G-8 411 West Fourth St., Ste 1053 3470 Twelfth Street, Room 134
Los Angeles, CA 90012 Santa Ana, CA 92701 Riverside, CA 92501

Failure to file at the proper location will result in Your documents being returned to you.

 

CV-18 (08/13) NOTICE OF ASSIGNMENT TO UNITED STATES IUDGES

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UNITED STATES DISTR|CT COURT., CENTRAL Dl$TRlCT OF CAL!FORN|A
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l. (a) PLA|NT|FFS ( Check box`|fyou are representing yourself f'_'] )

Miiita Woodward

DEFENDANTS
GC Services, LP

( Check box Ifyou are representing yourseif m )

 

 

(b) Atiomeys (Fimi Name,Address andTe|ephone Number. ifyou
are representing yourseif, provide same.)

 

 

 

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CLAS$ ACT|ON under F.R.Cv.P. 23: []Yes No

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Vl. CAUSE OF ACI`lON (Clte the 05. Civi| Staruie under which you are fiiin

Plaintiif allege Viola\icm afthe Fair»Debt Co!|ection Piactices Act, 15 U.S.C. 169

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_ UNITED STATES DlS_`i'RlCT COURT, CENTRAL DlSTRiCT OF CAL|FORNlA

 

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Key to Stad'stii:al codes relating to Social Security Cases:

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861 m All claims for health insurance benelits (Medlcare) underTitie 18, Patt A, ofthe Soclai Seo.irlty Act, as amended. Also.

include claims by hospitals skilled nursing facilities, etc., for certification as providers of services under the program
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353 gmc All claims med by insured workers for disability insurance benefits under'iltle 2 ofthe Soclai Securityhct. as amended, plus
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CV-?`l (02/13) CiV\L COVER SHEE[ Psge 2 of 2

